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ATTORNEYS FOR DEFENDANT
UNITED STATES OF AMERICA

                                                IN THE UNITED STATES DISTRICT COURT
                                                    FOR THE DISTRICT OF MONTANA
                                                        GREAT FALLS DIVISION

   CLAIRE ABBOTT, Personal
   Representative of the Estate of
   Granville Stuart Abbott,                                             CV 21-14-GF-BMM
                                    Plaintiff,
                 vs.                                                    STIPULATION FOR DISMISSAL
   UNITED STATES OF AMERICA,

                                    Defendant.

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      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

parties hereby stipulate to dismiss this action with prejudice as fully compromised

and settled on the merits, each party to bear their own costs and expenses. This

stipulation is accompanied by a proposed order dismissing the case.

      DATED this 13th day of April 2022.

                                       LEIF M. JOHNSON
                                       United States Attorney


                                       /s/ Randy J. Tanner
                                       VICTORIA L. FRANCIS
                                       RANDY J. TANNER
                                       Assistant U.S. Attorneys
                                       Attorneys for Defendant



                                       /s/ Jeffrey G. Winter
                                       DUROCHER & WINTER, P.C.
                                       Attorney for Plaintiff




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                                                                    CERTIFICATE OF SERVICE

     I hereby certify that on the 13th day of April 2022, a copy of the foregoing
document was served on the following person by the following means.

                       1–2                           CM/ECF
                                                     Hand Delivery
                                                     U.S. Mail
                                                     Overnight Delivery Service
                                                     Fax
                                                     E-Mail

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